                                                                                         State Court of Fulton County
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                                                                                                          21EV004688
                                                                                                     8/9/2021 9:31 AM
                                                                                          Christopher G. Scott, Clerk
                                                                                                         Civil Division

                          IN THE     STATE COURT OF FULTON COUNTY

                                       STATE OF GEORGIA

ANDREA GORDON,

       Plaintiff,

vs.                                                       C/A File No.
                                                   '

STANLEY FAUGHN &
RELIABLE CARRIERS INC.,
       Defendants.

                               COMPLAINT FOR DAMAGES

       COMES NOW, Andrea Gordon Plaintiff in                  the above—styled action and shows this

Honorable Court the following facts:

                                                   l.

       The Plaintiff herein, Andrea Gordon resides in Fulton County, Georgia, and is subject to the

jurisdiction of this Court; and can be served at the following address: 424 Preakness Drive,

Alpharetta,   GA 30022.

                                                  2.

       That the Defendant herein, Stanley Faughn resides in St. Joseph County, Michigan, and is

subject to the jurisdiction of this Court, and can be served at the following address: 332 Pleasant

Street, Mendon, Ml 49072.

                                                  3.

       That the Defendant herein, Reliable Carriers Inc. resides in Wayne County, Michigan,

and is subject to the jurisdiction   of this Court, and can   be served at the following address: 41555


Koppernick Road, Canton, MI 48187.
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                                                   4.


        That on or about Tuesday, October 8‘”, 2019 at or around 1 :30 p.m., Plaintiff was driving her

Black 2013 Ford Explorer (herein Plaintiff’s vehicle) in the right turn lane from GA 140 onto

Holcomb Woods Parkway.

                                                   5.


        At    the same time, Defendant was operating his 2016 Ken Semi-Truck (hereinafter

Defendant’s vehicle) and was also turning right onto Holcomb Woods Parkway.

                                                   6.

        Defendant had to make a wide turn due to the load of the truck, which resulted in his failure

to clear all the lanes and the collision into Plaintiff’ s vehicle. The Defendants improper lane change

and failure to keep their vehicle under control at all times caused the collision into Plaintiff s vehicle,


pushing it into the curb and damaging both the driver and passenger sides of the vehicle. The

collision caused the Plaintiff extensive physical injuries and financial losses. The Roswell Police

Department Officer Yorke, T., arrived at the scene of the accident and the Defendant was issued a

citation for Improper Lane Change (O.C.G.A. 40-6-123(A)).

                                                        7.

        The actions of the Defendant as described above constituted carelessness and negligence with

respect to the Plaintiff for the following reasons:

        (A)      ln failing to pay attention to the actions of the trafﬁc around him;

        (B)      In making an improper lane change;


        (C)      In failing to maintain his lane; and


        (D)      In failing to keep his vehicle under control at all times.
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Said negligence was the proximate cause 0f ﬁnancial icsses and personal injuries which the Plaintiff

suffered on the date of, and subsequent to, the above—referenced collision.

                                                  8.


       Plaintiff suffered various painful and permanent injuries and was treated at Georgia Spine

and Orthopedics and at WeIIStar North Fulton Hospital by Dr. Magdalen          K. Holliger, M.D., and

Dr. Dirk C. Schrader,   MD. following the collision.

                                                  9.

       Plaintiff has incurred signiﬁcant medical bills, as a direct and proximate result of the

negligence of Defendant and reasonable expenses for medical attention necessary for the treatment

of Plaintiff‘s injuries. Plaintiff will continue in the future   to incur like expenses   of an unknown

amount, the exact amount of which will be proven at the time of trial.

                                                  10.

       That as a further proximate result of the negligence of Defendant, Plaintiff has endured

severe physical pain and suffering and emotional anguish. Plaintiff’ s pain and suffering is expected

to continue into the future.

                                                 l 1.

        But for the negligence of the Defendant, Plaintiff would not have suffered these losses.

Because of the actions of Defendant, Plaintiff was instead subjected to a lengthy rehabilitation and

recurring pains which persist to the present.

                                                12.

        At all times relevant hereto, Defendant, Stanley F aughn was employed by and was an agent

of Defendant, Reliable Carriers Inc. Defendant, Reliable Carriers lnc., is vicariously liable for its

employee, Stanley F aughn’s, negligent acts as he violently struck Plaintiff, Andrea Gordon, as those

                                                 -3-
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acts were committed within the scope of the employee’s employment for the purposes of respondeal


superior.

                                                13.


       The above—described acts of Mr. Faughn were committed Within the scope of his employment

with Defendant Reliable Carriers Inc., in that they were committed while on duty and in furtherance

of Defendant, Reliable Carriers Inc. Mr. Faughn was responding to      a driving request issued by his


employer at the time the accident took place.

                                                l4.

       As Defendant, Stanley F aughn’s, employer, Defendant, Reliable Carriers lnc., is responsible

for all of the negligent acts committed by Stanley Faughn within the scope of his employment.

                                                15.

       That as a further direct and proximate result of the negligence of the Defendant, the Plaintiff

suffered additional minor losses, the amount of which will be proven at the time of trial.

                                                 l6.

       All of the   damages and injuries of Plaintiff, as aforesaid, were caused solely, directly, and

approximately by the negligence of the Defendant and by the resultant aforementioned collision.

        WHEREFORE, Plaintiff respectfully       prays that:

        l.       Plaintiff have judgment against Defendant in an amount to be determined by the
                 enlightened conscience of a jury for medical expenses, past, present and future;
                 economic loss, including but not limited to, lost wages past and future; and for the
                 extensive physical pain and mental anguish Plaintiff has been subjected to as a direct
                 result of the negligence of said Defendant;

        2.       Plaintiff be awarded atrial by jury; and,

        3.       Plaintiff have such other relief as this Court deems meet, right and just under the
                 circumstances.
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         This 4‘h day of August, 2021.


                                            Respectfully submitted,


                                             @72wa
                                            AARON N. FREEDMAN
                                            Attorney for Plaintiff
                                            Georgia Bar No.: 300247




Law Ofﬁces of Aaron N. Freedman
3740 Davinci Court, Suite 150
Peachtree Corners,   GA 30092
(678)   699—6566
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                                                                                          State Court of Fulton County
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                                                                                           Christopher G. Scott, Clerk
                                                                                                          Civil Division
                             IN THE   STATE COURT OF FULTON COUNTY

                                        STATE OF GEORGIA

ANDREA GORDON,

       Plaintiff,

vs.                                              :            C/A File N0.

STANLEY FAUGHN and
RELIABLE CARRIERS INC.,
       Defendant.

                   PLAINTIFF ANDREA GORDON FIRST CONTINUING
                 INTERROGATORIES TO DEFENDANT STANLEY FAUGHN

       COMES NOW, ANDREA GORDON,                     the   Plaintiff in the above-styled action, and for the

purposes of discovery pursuant t0 O.C.G.A. §   9—1    1—33,   propounds these Interrogatories to the above—

named Defendant. Defendant is required under O.C.G.A. § 9-11-33 to answer these
                                                                                Interrogatories

separately and fully in writing and under oath and to serve a copy of said Answers upon the

Plaintiff” s counsel at 3740 Davinci Court, Suite 150 Peachtree Corners, GA 30092, within forty-ﬁve

(45) days after date of service.

       NOTE A: The Defendant “shall furnish such information as is available to the party.” See

O.C.G.A.   §   9-11-33(a).

       NOTE B:       These Interrogatories shall be deemed continuing, and supplemental responses

shall be required   if you or your attorneys obtain further information between the time answers         are

served and the time of trial as set forth in O.C.G.A. § 9-11—26(e).

       DEFINITIONS: When used in the interrogatories, the following words and phrases                  shall

have the meanings set forth below.
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        (A)     "Defendant(s)", "you", "yours", or any synonym thereof, is intended to and shall

embrace and include, in addition to said Defendant, all agents, servants, representatives, private


investigators and others who are in a position of or may have obtained information for on behalf of

Defendant(s).

        (B)     “Persons” shall include all individuals, corporations, sole proprietorships,

partnerships, associations, governmental agencies, and all other organizations or entities.

        (C)     “Identify” with regard to a person means to state a person’s full name, present address

and current telephone number and job title as well.                   “ with          to a corporation,
                                                          “Identify          regard

company or other business entity means to state the following information: the current complete

name   of said corporation, the full address of the corporation, the state in which it is currently

incorporated, the state in which its primary business structure is located, the name, address and

telephone number of its registered agent of service for the State of Georgia - and     if no   such agent

exists for Georgia the registered agent of service for the state in which said corporation’s primary

business structure is located, and the names and current addresses of all corporate board members.

                                 INTERROGATORY NUMBER ONE

        Please identify yourself including:

        A) your full name;

        B) your date of birth;

        C) your present address, (and the number of years you have lived     at this address);


        D) your social security number; and,

        E) your driver’s license number.
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                               INTERROGATORY NUMBER TWO

       List all previous addresses for the past ten years, together with the dates that you resided at

each such address, and with whom you resided.




                              INTERROGATORY NUMBER THREE

       Please list all formal education you have had, including seminars, correspondence courses

and on-the-job training. Identify each school, college or educational facility attended, and state the


degrees obtained.




                              INTERROGATORY NUMBER FOUR

        State the full name of your spouse,      if any,   at the time   of the incident giving rise to this

lawsuit, and your spouse at the present time.




                               INTERROGATORY NUMBER FIVE

       Identify your current employer, your job duties, and identify every other employer for whom

you have worked within the last ﬁve years.



                                INTERROGATORY NUMBER SIX

        Please state whether you were involved in duties for an employer at the time of the

occurrence in question, and   if so,   identify that employer.
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                                INTERROGATORY NUMBER SEVEN

       If you have ever     been arrested or convicted of any crime or trafﬁc offenses, please specify

each such crime and trafﬁc violation.




                                INTERROGATORY NUMBER EIGHT

       Please state whether at the time ofthe occurrence in question      if you were the titled owner of

the vehicle you were driving when it was involved in the collision referred to in the          Plaintist

Complaint. If you were not the titled owner, please specify the current, (or,     if unavailable, the last

known), name, phone number, address, and automobile insurance carrier of the owner of said

vehicle.

                                 INTERROGATORY NUMBER NINE

           State whether or not Defendant has, prior to or subsequent to the incident which is the subject

matter of the within action, been involved in any other accidents wherein Defendant was driving a

motor vehicle. As to any such incident, state the date of such incident, the location of such incident,

whether or not as a result of said incident any charge for traffic violation was made against

Defendant and,     if so, what the ultimate disposition was of such charge.


                                  INTERROGATORY NUMBER TEN

           On the date of the occurrence in question, please state any restrictions you had on your

driver’s license, and if there were any violations of these restrictions committed by you at the time of

the occurrence complained of in      Plaintiff s Complaint.
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                              INTERROGATORY NUMBER ELEVEN

       At the time of the subject occurrence,    and providing coverage for same, did a policy or did


policies of liability insurance cover you, any member of your family, and any other person, for the

vehicle you were driving? If so, please, for each policy: identify each such insurer, and the insured,

state the policy number   of the policy, the effective dates thereof, the types of coverage afforded, the

policy limits of each, and any amounts already paid out under the above.



                              INTERROGATORY NUMBER TWELVE

        On the date of the incident did you own or did you have access to a cell phone, and         if so,

please identify the owner of the cell phone(s), the cell service provider(s), the cell phone number(s)

and the billing address   of each service provider.



                             INTERROGATORY NUMBER THIRTEEN

        Please state   if you are protected against the type of risk sued hereon by any reinsurance or

excess insurance above and beyond any policy identiﬁed in the preceding Interrogatory.          If so, for

each such policy, please identify the insurer and all insureds pertinent to the case at hand, and give

the number     of the policy, and the date and effective period of the policy. If any of the aforesaid

insurance companies handling your defense are under any reservation of rights or non—waiver

agreement, please identify each company, the number of the policy involved and the grounds for this

reservation.

                             INTERROGATORY NUMBER FOURTEEN

        Please state the nature and extent of damages sustained by the vehicle you were in at the time

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of the occurrence complained 0f in this case noting whether the vehicle was totaled or repaired, and

if repaired, the cost of the repairs.



                              INTERROGATORY NUMBER FIF TEEN

        State whether or not the Defendant had any drugs, either prescription or non-prescription,

and/or beverages   of an alcoholic nature to drink, within a twenty—four—hour period immediately prior

to the subject incident.    If your answer   is in the afﬁrmative, state the type of alcoholic beverage

and/0r drugs consumed, the amount of alcoholic beverage and/or drug consumed, the reason each

such beverage and/or drug was consumed, and when each such alcoholic beverage and/0r drug was

consumed.

                              INTERROGATORY NUMBER SIXTEEN

        Please state whether in the week prior to the incident in question   if you had any mechanical

problems whatsoever with the vehicle you were driving, and        if so, please list any   such problems.




                            INTERROGATORY NUMBER SEVENTEEN

        State in detail and with particularity how you contend the incident occurred, which forms the

subject matter of Plaintiff’s Complaint.




                             INTERROGATORY NUMBER EIGHTEEN

        Describe in detail what you did after you ﬁrst observed the other vehicle until the moment of

collision.

                           INTERROGATORY NUMBER NINETEEN

        Please state whether just before or at the point of the collision in question any of the

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following were occurring in your vehicle: (l) the radio was on; (2) you were conversing with or

listening to another person; (3) you were smoking; (4) you were using a cellular telephone; (5) you

were looking at any particular object such as a road sign, a pedestrian, etc.




                            INTERROGATORY NUMBER TWENTY

        With reference to the trip you were taking at the time of the accident herein, please state

where and when it began and where and when it was scheduled to end, the stops you had made prior

to the collision, and the stops which you intended to make over the uncompleted part        of your trip.



                         INTERROGATORY NUMBER TWENTY—ONE

        Please state whether you received any citation(s) for any trafﬁc offense as a result of the

occurrence referenced in Plaintiff” s Complaint, and   if so, please state the speciﬁc charge(s) for each

citation, the Court in which each citation was designated to be heard, and how you pled to each

citation.

                         INTERROGATORY NUMBER TWENTY—TWO

        If, in answer to the preceding interrogatory you stated that you pled “not guilty” or “nolo” to

any citation you received as a result of the incident referenced in Plaintiff s Complaint, please state

the outcome    of any hearing with reference to such plea, including the finding of the Court, the

amount of any ﬁne and/or penalty imposed by the Court, and whether all or part of any such ﬁne

and/or penalty has been paid.

                        INTERROGATORY NUMBER TWENTY—THREE

        Please identify all witnesses known by you to have seen or claimed to have seen all or any

part of the occurrence complained of in this action.

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                         INTERROGATORY NUMBER TWENTY—FOUR

        Please state the names, addresses, home telephone numbers, places of employment, and

present whereabouts of all witnesses known to you who arrived at the scene of the occurrence

complained of in this action either immediately or shortly thereafter




                          INTERROGATORY NUMBER TWENTY—FIVE

       Please state whether you had any conversation with the Plaintiff at the time of or following

this occurrence, and   if so, please state the nature of the conversation and the statements, if any, that
were made by you and by the Plaintiff.




                           INTERROGATORY NUMBER TWENTY-SIX

       Describe with reasonable particularity all photographs, charts, diagrams, videotapes, maps,

measurements, surveys, and other such illustrations of any person, place or thing involved in this

lawsuit, giving the date each was made and identifying the person(s) with possession, custody or

control of each item.

                         INTERROGATORY NUMBER TWENTY—SEVEN

       Please state any vision problem(s) you were having on the date of the incident, when you

ﬁrst noticed the problem(s) and the course of action you took in response to the problem(s).




                         INTERROGATORY NUMBER TWENTY-EIGHT

       Please state any Visual problem(s) you have or previously had, including formal and informal

diagnosis from medical professionals. Include the ﬁrst date of the diagnosis or the date you ﬁrst

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noticed the problem(s) and how long the problem(s) has lasted.

                         INTERROGATORY NUMBER TWENTY-NINE

       Please state any medical treatments, surgeries or medications currently 0r previously taken in

regard to any Visual problem(s) you have experienced including, but not limited to prescription

medications, over the counter medications, home remedies, and/or any medications you were taking

on or about the date   of incident. Please state the dates of such treatments, surgeries and the quantity

of medication,   date and time the medications were ingested.




                         INTERROGATORY NUMBER THIRTY

       Please state whether medical professionals advised you that you should not have been

operating a motor vehicle at the time of or prior to the occurrence of the incident. Please list the

name(s) of the medical professional(s) including full contact information and the reason(s) you were

advised against operating a motor vehicle during the time of the incident.




                         INTERROGATORY NUMBER THIRTY— ONE

        Please state whether or not you wear, have previously worn, or are supposed to wear

prescription glasses, contacts or sunglasses, and whether you were wearing them on the date of the

incident, and   if not, the reason(s) you were   not wearing them.




                           INTERROGATORY NUMBER THIRTY— TWO

        Please state whether or not you have retained or consulted with individuals holding

themselves to be expert witnesses with regard to any of the issues in this case, and        if so,   please

identify, along with their qualiﬁcations, each such expert witness.

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                        INTERROGATORY NUMBER THIRTY—THREE

       If you feel that Plaintiff was negligent or assumed a risk   in the incident in question please

state explicitly and in reasonable detail all ways in which you contend that the          Plaintiff was

negligent, contributorily negligent, assumed a dangerous risk, or breached any duty with respect to

the incident giving rise to this lawsuit and give a summary         of the facts which support these

contentions.

                        INTERROGATORY NUMBER THIRTY— FOUR

       If Defendant   is claiming that the incident which is the subject of Plaintiff’s Complaint

occurred as a result of the negligence or actions of others for whose acts this Defendant is not

responsible, please identify the party or parties who Defendant claims is responsible and the speciﬁc

action(s) or failure to act which constituted said party’s negligence with respect to this.



                         INTERROGATORY NUMBER THIRTY— FIVE

       If you have stated a defense in your Answer that Plaintiffs Complaint fails to state a claim

against Defendant for which relief can be granted, please state in detail the specific grounds,

statutory or otherwise, upon which Defendant finds that Plaintiff‘s Complaint fails to state a claim

against Defendant upon which relief can be granted.




                          INTERROGATORY NUMBER THIRTY— SIX

        Please state whether or not you ﬁnd venue is proper in this case.      If you   are denying that

venue is proper in this case, please state in detail both the legal and factual bases for your position.




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                                        INTERROGATORY NUMBER THIRTY- SEVEN

               Pleae         state whether or not you ﬁnd service             of process is proper in this case. If you                                  are

      41mm-”               M            r.-.m-:~~   .u                            .            :1 1-”   4.1,.   aw 1,1",‘1 r"“1   i          1. r‘ ~ A. n CA ..
      ucuyiug    L11   L   be Vlb      U1   pump»   lb   yiupcr, plCdbU   bl LC   11   uctau      uuui          we legal auu          Luau     abCD LUl



      your position.




               Please state whether or not you claim that this case is barred by an appropriate Statute of

      limitations.         If you are raising a Statute of Limitations defense, please state both the legal and factual
      1-, .. CA...
      Udbbb lUl
                             ..,.,.J
                     yuui lJUbltlUll.



                This 4th day of August, 2021.

                                                                              Respectfully Submitted,


                                                                                       ﬂ;
                                                                              AARON N. F REEDMAN
                                                                                                                 1/ z\._
                                                                              Attorney for Plaintiff
                                                                              Georgia Bar No: 300247




Law Office of Aaron N. Freedman
3740 Davinci Court, Suite 150
Peachtree Corners, GA 30092
Telephone 678-699-6566


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                                                                                          State Court of Fulton County
        Case 1:21-cv-03848-AT Document 1-1 Filed 09/17/21 Page 19 of 67                                     **E-FILED**
                                                                                                           21EV004688
                                                                                                      8/9/2021 9:31 AM
                                                                                           Christopher G. Scott, Clerk
                                                                                                          Civil Division
                             IN THE       STATE COURT OF FULTON COUNTY
                                           STATE OF GEORGIA

ANDREA GORDON,                                    )
                                                  )
               Plaintiff,                         )
v.                                                )        CIVIL ACTION NO.:
                                                  )
STANLEY FAUGHN and                                )
RELIABLE CARRIERS INC,                            )
                                                  )
               Defendants.                        )

             PLAINTIFF ANDREA GORDON’S FIRST CONTINUING
       INTERROGATORIES TO DEFENDANT RELIABLE CARRIERS INC.
       COMES NOW, Andrea Gordon, the Plaintiff in the above-styled action, and for the purposes

of discovery pursuant to O.C.G.A.     §   9-11-33, propounds these Interrogatories to the above—named

Defendants. The Defendants are required under O.C.G.A. § 9-1 1-33 to answer these Interrogatories

separately and fully in writing and under oath and to serve a copy of said Answers upon the

Plaintiff s counsel at 3740 Davinci Court, Suite      150, Peachtree Corners,   GA 30092, within forty-five

(45) days after date of service.

       NOTE A: The Defendant “shall furnish such information as is available to the party.” See

O.C.G.A.   § 9—11—33(a).

       NOTE B:       These Interrogatories shall be deemed continuing, and supplemental responses

shall be required   if you or your attorneys obtain further information between the time answers        are


served and the time of trial as set forth in O.C.G.A. § 9—11—26(e).

       DEFINITIONS: When used in the interrogatories, the following words and phrases                 shall

have the meanings set forth below.

        (A)     "Defendant(s)", "you", "yours", or any synonym thereof, is intended to and shall

embrace and include, in addition to said Defendant, all agents, servants, representatives, private

                                                       l
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investigators and others who are in a position of or may have obtained information on behalf of

Defendant(s).

        (B)      “Persons” shall include all individuals, corporations, sole proprietorships,

partnerships, associations, governmental agencies, and all other organizations or entities.

        (C)      “Identify” with regard to a person means t0 state a person’s full name, present address

and current telephone number and job title as well.                    “ with          to a corporation,
                                                           “Identify          regard

company or other business entity means to state the following information: the current complete

name   of said corporation, the full address of the corporation, the     state in which it is currently


incorporated, the state in which its primary business structure is located, the name, address and

telephone number of its registered agent of service for the State of Georgia     —
                                                                                     and   if no   such agent

exists for Georgia the registered agent of service for the state in which said corporation’s primary

business structure is located, and the names and current addresses of all corporate board members.

                                  INTERROGATORY NUMBER ONE

        Please identify yourself including:

        A) the full     company name;

        B) the   date   of incorporation;

        C) the company’s present address      and the Registered Agent’s current address;

        D) your employer identiﬁcation number

                                  INTERROGATORY NUMBER TWO

        State the full name of the owner of Reliable Carriers, Inc. at the present time and at the time

of the occurrence complained of in Plaintist complaint.

                                 INTERROGATORY NUMBER THREE

        Describe the corporate structure of Reliable Carries Inc. including its hierarchical employee

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structures, and its relationship t0 all parent companies, subsidiaries, and related corporations.

                                INTERROGATORY NUMBER FOUR

       Describe the application and hiring process used for Stanley Faughn, including whether any

drug testing, background checks, interviews, licensing and insurance documentation reviews, driving

tests were performed, and the results and ﬁndings of each.

                                 INTERROGATORY NUMBER FIVE

   Describe all company—mandated or legally-mandated education or training requirements for the

Semi Truck drivers and other employees in Stanley Faughn’s position, and whether Stanley Faughn

fulﬁlled those requirements.

                                 INTERROGATORY NUMBER SIX

    State whether there exists any protocols, procedures, guidelines, standards, or policy manual(s)

to govern or guide your agents, servants and/0r employees, such as Stanley Faughn, in the exercise

of their duties in October, 2019.

                                    INTERROGATORY NUMBER SEVEN

       If the above Interrogatory is answered in the afﬁrmative, state whether your agents, servants,

and/or employees followed these protocols, procedures, guidelines, standards, or policy manual(s) in

the exercise   of their duties on or about February 5, 2017 and if not, please explain in detail why they

were not followed.

                                    INTERROGATORY NUMBER EIGHT

       Identify each manager, supervisor, operator, driver, dispatcher, receptionist, secretary and

other employee, agent, and/or servant who was on duty within the 48 hours prior to and after the

collision who had any interaction or supervisory responsibilities with Stanley Faughn, indicating the

nature of your relationship (i.e. agent, servant, and/ or employee) with each such person, job position

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and duties at the time    0f the occurrence and   at present.


                                  INTERROGATORY NUMBER NINE

    Describe the circumstances surrounding all disciplinary proceedings, including verbal warnings,

written warnings and other discipline, directed toward Stanley F aughn since the beginning of his

employment. Include the ﬁnal outcome of all discipline.

                                  INTERROGATORY NUMBER TEN

    Identify each person who has given you or your agents, servants and/or employees a signed,

written, tape recorded or oral statement concerning the circumstances of this case, including the

names, addresses and telephone numbers of each such person.

                                INTERROGATORY NUMBER ELEVEN

    Describe all written and verbal statements given by you, your employees, agents, servants,

representatives or witnesses regarding the collision involving Andrea Gordon.

                               INTERROGATORY NUMBER TWELVE

    State the names and addresses of all experts whom you intend to call as witnesses at the trial of

this matter.   If any have prepared a report of his or her ﬁndings, please attach a copy of the report to

your answers to these interrogatories. In addition, please state the subject matter upon which each

such expert is expected to testify, the substance of the facts and opinions to which each such
                                                                                               expert

is expected to testify, and provide a summary of the grounds for each opinion.

                              INTERROGATORY NUMBER THIRTEEN

    If you     have within your control or possession photographs, video, pictures, imaging, plats,

diagrams, or drawings of the scene, objects, or persons connected with the occurrence, and/or

Videotapes regarding any element of Plaintiffs’ claims, set forth a description of same and describe

the contents    of any such item, or the like, the dates created, and the identity of the person or persons

                                                    -4-
         Case 1:21-cv-03848-AT Document 1-1 Filed 09/17/21 Page 23 of 67




creating them; and attach a copy t0 your answers t0 interrogatories.

                            INTERROGATORY NUMBER FOURTEEN

   Give a complete statement of the facts as to how you contend that the occurrence took place

including the exact location of the occurrence, the direction in which all operators were proceeding,

and the speed at which all operators were proceeding.

                             INTERROGATORY NUMBER FIFTEEN

   If it is your contention that Andrea Gordon’s injuries on October 8, 2019 were caused in whole

or in part by some person or persons other than your agents, servants and/or employees, including

Andrea Gordon, please identify each such person and act or omission.

                             INTERROGATORY NUMBER SIXTEEN

   Identify all written communications, including internal minutes of all meetings and notes

therefrom, subsequent to Andrea Gordon’s accident and/or relating to Stanley Faughn, regarding

safety procedures and vehicle operations at Reliable Carriers Inc.

                           INTERROGATORY NUMBER SEVENTEEN

       Please identify all individuals who have or have had any responsibilities, including

administrative and investigative, arising out of Andrea Gordon’s accident. In connection therewith,

please state the name of each and every such individual and set forth their current positions with or

relationship to Reliable Carriers Inc.

                            INTERROGATORY NUMBER EIGHTTEEN

    If a report   about this occurrence was made by you or your agent, servant or employee in the

ordinary course of business, including, but not limited to, an incident report or quality assurance

report, provide the date of each report and identify the person or persons who made each report and

the persons who presently have custody    of each report.

                                                _5_
           Case 1:21-cv-03848-AT Document 1-1 Filed 09/17/21 Page 24 of 67




                            INTERROGATORY NUMBER NINETEEN

       Please state the factual basis for each afﬁrmative and negative defense in your Answer,

including any amendments thereto.

                             INTERROGATORY NUMBER TWENTY

   Identify each and every written instrument upon which a claim or defense is founded.

                          INTERROGATORY NUMBER TWENTY-ONE

    State the substance of all discussions concerning the occurrence that you or your agents, servants

and/or employees or others in your presence had with any party to this case. State when and where

each discussion took place and identify all persons who were present.

                          INTERROGATORY NUMBER TWENTY-TWO

       Describe in detail any property damage to Stanley Faughn’s vehicle as a result of this

collision, as well as the chain of custody of any such property from the time of the collision to the

present.

                         INTERROGATORY NUMBER TWENTY-THREE

    For each person identified in your Answers to Interrogatories who at one time was, but no longer

is, your agent, servant and/or employee, please provide the date and reason for termination and a

current address (or   if a current address is unknown, provide the last known address).

                         INTERROGATORY NUMBER TWENTY-F OUR

    Identify every person and their last known address not otherwise identiﬁed in your Answers to

these Interrogatories, including eyewitnesses to all or part   of the occurrence, who has personal

knowledge of any facts material to this case and generally describe or summarize these facts each

person possesses which are material to this claim.
        Case 1:21-cv-03848-AT Document 1-1 Filed 09/17/21 Page 25 of 67




                          INTERROGATORY NUMBER TWENTY-FIVE

   Please provide the caption, court, case number, date of ﬁling, and name of plaintiff in all cases

ﬁled against you or your agents, servants, and/or employees arising from this occurrence and in all

cases ﬁled arising from the acts or omissions of Stanley Faughn while in the course of his


employment, as well as the current status and ﬁnal outcome of each.

                           INTERROGATORY NUMBER TWENTY-SIX

       Please provide the caption, court, case number, date of ﬁling, and name of plaintiff in all

cases ﬁled against you or your agents, servants, and/or employees and in all cases ﬁled arising from

the acts or omissions   of you or your agents, servants, and/or employees while in the course of their

employment, as well as the current status and ﬁnal outcome of each.

                         INTERROGATORY NUMBER TWENTY—SEVEN

       Describe the all equipment on board the automobile with vehicle identiﬁcation number (VIN)

lXKWD49X1GR103329 capable of providing tracking              and speed information on the vehicle,


sending and/or receiving communications (whether by wireless, radio, instant messaging, or other

means), and designed to alert the driver of potentially dangerous proximity to outside objects.

                         INTERROGATORY NUMBER TWENTY-EIGHT

       Describe the course of the automobile with vehicle identiﬁcation number (VIN)

    lXKWD49X1GR103329 for the 48 hours prior to           the collision on October 8, 2019, including


   city and state of location, whether the vehicle was traveling or stationary, from where the vehicle

   was proceeding and the vehicle’s intended destination.

                          INTERROGATORY NUMBER TWENTY—NINE

       Identify every employee, current and previously employed at the time of this incident. Please

list whether they are still employed, their mailing address and telephone number and job title.

                                                  -7-
          Case 1:21-cv-03848-AT Document 1-1 Filed 09/17/21 Page 26 of 67




                               INTERROGATORY NUMBER THIRTY

         At the time of the subject occurrence,   and providing coverage for same, did a policy or did


policies of liability insurance cover you, any of your employees, agents, servants, and/or any other

person, for any injuries that may arise.   If so, please, for each policy: identify each such insurer, and

the insured, state the policy number    of the policy, the effective dates thereof, the types of coverage

afforded, the policy limits of each, and any amounts already paid out under the above.

                            INTERROGATORY NUMBER THIRTY—ONE

         Please state   if you are protected against the type of risk sued hereon by   any reinsurance or

excess insurance above and beyond any policy identiﬁed in the preceding lnterrogatory.          If so,   for

each such policy, please identify the insurer and all insureds pertinent to the case at hand, and give

the number of the policy, and the date and effective period       of the policy. If any of the aforesaid

insurance companies handling your defense are under any reservation of rights or non-waiver

agreement, please identify each company, the number of the policy involved and the grounds for this

reservation.

                            INTERROGATORY NUMBER THIRTY-TWO

         State whether or not there are any surveillance cameras inside the Stanley Faughn’s vehicle

and   if so, the exact location of those cameras and whether they were   in working order on the date of

the occurrence.

                           INTERROGATORY NUMBER THIRTY—THREE

         Describe with reasonable particularity all photographs, charts, diagrams, videotapes, maps,

measurements, surveys, and other such illustrations of any person, place or thing involved in this

lawsuit, giving the date each was made and identifying the person(s) with possession, custody or

control of each item.
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                         INTERROGATORY NUMBER THIRTY—FOUR

          Please identify all witnesses known by you to have seen or claimed to have seen all or any

part   of the occurrence complained of in this action.

                           INTERROGATORY NUMBER THIRTY-FIVE

          Please state the names, addresses, home telephone numbers, places of employment, and

present whereabouts of all witnesses known to you who arrived at the scene of the occurrence

complained of in this action either immediately or shortly thereafter.

                            INTERROGATORY NUMBER THIRTY—SIX

          Please state whether you, or any person present at the scene of the accident, had any

conversation with the Plaintiff at the time of or following this occurrence, and    if so, please state the
nature   of the conversation   and the statements,   if any, that were made by you and by the Plaintiff.

                          INTERROGATORY NUMBER THIRTY-SEVEN

          Please state whether or not you have retained or consulted with individuals holding

themselves to be expert witnesses with regard to any of the issues in this case, and         if so,   please

identify, along with their qualiﬁcations, each such expert witness.

                          INTERROGATORY NUMBER THIRTY—EIGHT

          If you feel that Plaintiff was negligent or assumed a risk in the incident in question,     please

state explicitly and in reasonable detail all ways in which you contend that the            Plaintiff was

negligent, contributorily negligent, assumed a dangerous risk, or breached any duty with respect to

the incident giving rise to this lawsuit and give a summary           of the facts which support these

contentions.
         Case 1:21-cv-03848-AT Document 1-1 Filed 09/17/21 Page 28 of 67




                           INTERROGATORY NUMBER THIRTY-NINE

        If Defendant   is claiming that the incident which is the subject of Plaintiff’s Complaint

occurred as a result of the negligence or actions of others for whose acts this Defendant is not


responsible, please identify the party or parties who Defendant claims is responsible and the speciﬁc

action(s) or failure to act which constituted said party’s negligence with respect to this.


                              INTERROGATORY NUMBER FORTY

        If you have stated a defense in your Answer that Plaintiff” s Complaint fails to state a claim

against Defendant for which relief can be granted, please state in detail the specific grounds,

statutory or otherwise, upon which Defendant ﬁnds that Plaintiff‘s Complaint fails to state a claim

against Defendant upon which relief can be granted.


                           INTERROGATORY NUMBER FORTY-ONE

        Please state whether or not you ﬁnd venue is proper in this case.      If you   are denying that

venue is proper in this case, please state in detail both the legal and factual bases for your position.




                           INTERROGATORY NUMBER FORTY—TWO

        Please state whether or not you ﬁnd service of process is proper in this case.     If you are

denying that service of process is proper, please state in detail both the legal and factual bases for

your position

                        INTERROGATORY NUMBER FORTY-THREE

        Please state whether or not you claim that this case is barred by an appropriate Statute of

limitations. If you are raising a Statute of Limitations defense, please state both the legal and factual

bases for your position.

                                                 -10-
             Case 1:21-cv-03848-AT Document 1-1 Filed 09/17/21 Page 29 of 67




                                               Respectfully Submitted,




                                                @‘ﬂzg
                                               AARON N.    FREEDMm‘
                                               Attorney for Plaintiff
                                               Georgia Bar No: 300247

Law Ofﬁce of Aaron N." Freedman
3740 Davinci Court, Suite 150
Peachtree Corners, GA 30092
Telephone 67 8—699-6566




                                               -l.l-
                                                                                        State Court of Fulton County
          Case 1:21-cv-03848-AT Document 1-1 Filed 09/17/21 Page 30 of 67                                 **E-FILED**
                                                                                                         21EV004688
                                                                                                    8/9/2021 9:31 AM
                                                                                         Christopher G. Scott, Clerk
                                                                                                        Civil Division
                         IN THE    STATE COURT OF FULTON COUNTY
                                      STATE OF GEORGIA

ANDREA GORDON,                                   )
                                                 )
               Plaintiff,                        )
V.                                               )         CIVIL ACTION NO.:
                                                 )
STANLEY FAUGHN and                               )
RELIABLE CARRIERS INC,                           )
                                                 )
               Defendants.                       )


      PLAINTIFF ANDREA GORDON’S REQUEST FOR THE PRODUCTION OF
              DOCUMENTS TO DEFENDANT STANLEY FAUGHN

       COMES NOW,           the Plaintiff herein and ﬁles this Request for Production   of Documents

pursuant to Ofﬁcial Code of Ga. § 9-1   1—34   and requires the above-named Defendant to comply with

said Code Section as follows by producing and permitting counsel for Plaintiff to inspect and copy

each of the following documents within forty—ﬁve (45) days after service hereof. In lieu of this, you

                                                                                                   for
may attach copies thereof to your answers to these Requests. Plaintiffs attorney is willing to pay

any reasonable costs involved in complying with these Requests.

      DEFINITIONS:

        (A)   When used herein, the term "vehicle" refers to that motor vehicle driven by the

Defendant and described more fully in Plaintiffs Complaint.

        (B)   When used herein, the term "you" or "your" shall refer to Defendants.

        (C) When used herein, the term "accident," "collision" or "occurrence" shall not refer to an

        unavoidable event or sequence of such events, but shall refer to that event more fully

        described in Plaintiffs Complaint wherein Plaintiff suffered personal and physical injuries as

        a result   of being within the zone of collision with the motor vehicle driven by Defendant.


                                                     -1-
             Case 1:21-cv-03848-AT Document 1-1 Filed 09/17/21 Page 31 of 67




       (D)     When used herein, the term "drug" shall refer t0 and include prescribed medications,

       over-the-counter medicines or medications, dangerous drugs, or controlled substances.

       (E)      As used herein, "documents" shall mean, but without limitation: every writing or

       record of every type and description that is or has been in the possession, control, or custody

       of Defendant or of which Defendant has knowledge, including without limitation,

       correspondence, memoranda, tapes, stenographic or handwritten notes, studies, photographs,

       voice recordings, maps, reports or ﬁlms.

                                                  1.


                                                                              control which were
       Copies of any statements, whether recorded, oral or otherwise, in your

obtained from the Defendant.

                                                  2.


        All photographs, sketches, videotapes, or other drawings made of the vehicles involved in the

accident, of the scene of the occurrence, of Defendant or of any other person or of anything
                                                                                             else


pertaining to this litigation. You may mail photocopies of same
                                                                in lieu of the originals   if the same

are legible.

                                                  3.


        A copy of any   citation you may have received as a result of this accident.

                                                  4.


        A copy of any transcript of the trafﬁc   court hearing or any other judicial or quasi-judicial


hearing related to the accident giving rise to the within Plaintiff’ s Complaint.

                                                   5.

                                                                                     from any other
        Copies of any written, recorded or other statement or report obtained by you

                                                                    from any expert witness who has
party or witness to the accident complained of in the Complaint, or

                                                  -2-
             Case 1:21-cv-03848-AT Document 1-1 Filed 09/17/21 Page 32 of 67




any knowledge or information relating to the accident complained of in the Complaint.

                                                   6.


        The original or copy of any insurance policy which provided beneﬁts to you pursuant to the

Georgia Motor Vehicle Accident Reparations Act, (Georgia Laws 1974, p. l l3, et seq. amended),
                                                                                    as


in connection with the occurrence which is the subject matter    of Plaintiff” s Complaint.

                                                   7.


        A copy of your driver’s license as of the date of the accident in question.
                                                   8.


        A copy of your current driver’s license.
                                                   9.


        All documents evidencing written or oral communications between Defendant or any agent

or employee    of Defendant and Plaintiff or any agents or employees of Plaintiff.

                                                   lO.

                                                                                               has
         All claims, claims   reports, notices, or other documents or correspondence Defendant

submitted to any insurance company with respect to the occurrence in question in this case.

                                                   ll.

         All expert reports prepared at the direction of Defendant to establish liability or damages in

this case.

                                                   12.


         Any and all other documents, records, books, medical treaties, etc. relied upon by Defendant

 to establish liability in this case.

                                                    l3.

         Any other documents, books, records, etc. relied upon in preparing responses to Plaintiff’s
                                                        q
           Case 1:21-cv-03848-AT Document 1-1 Filed 09/17/21 Page 33 of 67




interrogatories.

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to any issue   int   IS          10     night lead to the production of other evidence which is admissible



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                          1   august,

                                                      Respectfully Submitted,



                                                      Miro
                                                      MON
                                                           W“  N FREEDMAN
                                                      Attorney for Plaintiff
                                                      Georgia Bar No.: 300247




 The Law Ofﬁce of Aaron N. Freedman
 3740 Davinci Court, Suite 150
 Peachtree Corners, GA 30092
 (678)—699—6566
               Case 1:21-cv-03848-AT Document 1-1 Filed 09/17/21 Page 34 of 67



                                    IN THE STATE COURT OF FULTON COUNTY
                                              STATE OF GEORGIA

ANDREA GORDON,                                           )
                                                         )
                      Plaintiff,                         )
v.                                                       )       CIVIL ACTION NO.:
                                                         )
STANLEY FAUGHN and                                       )
RELIABLE CARRIERS INC,                                   )
                                                         )
                      Defendants.                        )


                                               CERTIFICATE OF SERVICE
        This is to certify that I have this day served a copy of the within and foregoing Plaintiff’s

Request for the Production of Documents to Defendant and Plaintiff’s First Continuing
Interrogatories to the Defendant by US. Mail. with adequate postage afﬁxed thereon to:



                                                      Stanley Faughn
                                                    332 Pleasant Street
                                                    Mendon, MI 49072

                                                   Reliable Carriers, Inc.
                                                  41555 Koppernick Road
                                                     Canton, MI 48187




                                                                          ﬁn
         This 4th day of August, 2021.



                                                                          QrA/RON N.
                                                                                             21m
                                                                                       FREEDMAN
                                                                          Attorney for Plaintiff
                                                                          Georgia Bar No.: 300247
 The Law Ofﬁce of Aaron N. Freedman
 3740 Davinci Court, Suite 150
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                                      JVU/z.
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 (678)-699-6566
                                                                                     State Court of Fulton County
         Case 1:21-cv-03848-AT Document 1-1 Filed 09/17/21 Page 35 of 67                               **E-FILED**
                                                                                                      21EV004688
                                                                                                 8/9/2021 9:31 AM
                                                                                      Christopher G. Scott, Clerk
                                                                                                     Civil Division
                              IN   THE STATE COURT OF FULTON COUNTY
                                        STATE OF GEORGIA

ANDREA GORDON,                                    )
                                                  )
               Plaintiff,                         )
V.                                                )      CIVIL ACTION NO:
STANLEY FAUGHN and                                )
RELIABLE CARRIERS INC.,                           )
                                                  )
               Defendants.                        )

      PLAINTIFF ANDREA GORDON’S FIRST REQUEST FOR PRODUCTION OF
            DOCUMENTS TO DEFENDANT RELIABLE CARRIERS INC.

COMES NOW, the Plaintiff herein and ﬁles this Request for Production of Documents pursuant to

Ofﬁcial Code of Ga.   §   9—1 1—34   and requires the above-named Defendant to comply with said Code

Section as follows by producing and permitting counsel for Plaintiff to inspect and copy each of the

following documents within forty—five (45) days after service hereof. In lieu of this, you may attach

copies thereof to your answers to these Requests. Plaintiff‘s attorney is willing to pay for any

reasonable costs involved in complying with these Requests.

      DEFINITIONS:

(A) When used herein, the term "vehicle" refers to that motor vehicle driven by the Defendant and
described more fully in Plaintiffs Complaint.

(B)   When used herein, the term "you" or "your" shall refer to Defendants.

(C)   When used herein, the term "accident," "collision" or "occurrence" shall not refer to an

unavoidable event or sequence of such events, but shall refer to that event more fully described in

Plaintiffs Complaint wherein Plaintiff suffered personal and physical injuries as a result of being

within the zone of collision with the motor vehicle driven by Defendant.

(D)   When used herein, the term "drug" shall refer to and include prescribed medications, over—the—
           Case 1:21-cv-03848-AT Document 1-1 Filed 09/17/21 Page 36 of 67




counter medicines or medications, dangerous drugs, 0r controlled substances.


(E)     As used herein, "documents" shall mean, but without limitation: every writing or record of

every type and description that is or has been in the possession, control, or custody of Defendant or

of which Defendant has knowledge, including without limitation, correspondence, memoranda,

tapes, stenographic or handwritten notes, studies, photographs, voice recordings, maps, reports or

ﬁlms.




         Copies of any documentation used and executed during the application and hiring process for

Stanley Faughn, including any documentation showing the results and ﬁndings of any drug testing,

background checks, interview documents, licensing and insurance documentation reviews, and

driving tests.

                                                 2.


      Copies of all company—mandated or legally-mandated education or training requirements for the

Reliable Carriers lnc. drivers and other employees in Stanley Faughn’s position, and copies of all

such documents involving Stanley Faughn.




      Copies of all written protocols, procedures, guidelines, standards, or policy manual(s) that

govern or guide your agents, servants and/or employees, such as Stanley F aughn, in the exercise of

their duties in October, 2019.

                                                      4.


         Copies of documentation demonstrating whether your agents, servants, and/or employees

followed these protocols, procedures, guidelines, standards, or policy manual(s) in the exercise of

their duties on or about October 8, 2019.
          Case 1:21-cv-03848-AT Document 1-1 Filed 09/17/21 Page 37 of 67




    Copies of all disciplinary proceedings, including verbal/recorded warnings, written warnings and

other discipline, directed toward Stanley F aughn since the beginning of his employment. Include


copies showing the ﬁnal outcome of all discipline.

                                                    6.


        Copies of any written, recorded or other statement or report obtained by you from any other

party or witness to the accident complained of in the Complaint, or from any expert witness who has

any knowledge or information relating to the accident complained of in the Complaint.

                                                    7.


    Copies of all written and verbal statements given by you, your employees, agents, servants,

representatives or witnesses regarding the collision involving Andrea Gordon.

                                                    8.


    Copies of all reports prepared by all of the experts whom you intend to call as witnesses at the

trial of this matter.

                                                    9.


    If you   have within your control or possession photographs, video, pictures, imaging, plats,

diagrams, or drawings of the scene, objects, or persons connected with the occurrence, and/or

videotapes regarding any element of Plaintiffs” claims, set forth a description of same and describe

the contents   of any such item, or the like, the dates created, and the identity of the person or persons

creating them; provide copies of all the aforementioned items.

                                                    10.


    Copies of all written communications, including internal minutes of all meetings and notes

therefrom, subsequent to Andrea Gordon’s accident and/or relating to Stanley F aughn, regarding
                                                     ’7
                                                   —_)_
          Case 1:21-cv-03848-AT Document 1-1 Filed 09/17/21 Page 38 of 67




safety procedures and vehicle operations at Reliable Carriers Inc.

                                                 l 1.

    If a report   about this occurrence was made by you or your agent, servant or employee in the


ordinary course of business, including, but not limited to, an incident report or quality assurance

report, provide copies of all reports.

                                                 12.


    Provide copies of each and every written instrument upon which a claim or defense is founded.

                                                 13.


    Provide copies of all written or recorded discussions concerning the occurrence that you or your

agents, servants and/or employees or others in your presence had with any party to this case.

                                                 l4.

        Provide pictures or written reports concerning any property damage to Stanley F aughn’s

vehicle as a result of this collision.

                                                 15.


    Please provide copies of all documentation concerning all cases ﬁled against you or your agents,

servants, and/or employees arising from this occurrence and in all cases ﬁled arising from the acts or

omissions of Stanley Faughn while in the course of his employment.

                                                 l6.

        Please provide copies of all documentation concerning all cases ﬁled against you or your

agents, servants, and/or employees and in all cases ﬁled arising from the acts or omissions of you or

your agents, servants, and/or employees while in the course of their employment.

                                                    17.

    Provide copies of the jobs issued to Stanley Faughn and the course of the automobile with

                                                 -4-
                              Case 1:21-cv-03848-AT Document 1-1 Filed 09/17/21 Page 39 of 67




     vehicle identification number (VIN) IXKWD49X1GR1 03329 for the 48 hours prior to the collision

     on October 8, 2019.




                    he          original or copy of any insurance policy whch provided beneﬁts to you or any of your

     agents pursuant to the Georgia Motor Vehicle Accident Reparations Act, (Georgia Laws 1974, p.

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     Complaint.

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                       Copies of all photographs, charts, diagrams, videotapes, maps, measurements, surveys, and
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     was made and identifying the person(s) with possession, custody or control of each item.

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                       Plaintiff at the time of or following this occurrence.



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                                                                                                                                 a?!
                                                                                                                        AARON N. FREEDMAN
                                                                                                                                                         MA,
                                                                                                                        Attorney for Plaintiff
                                                                                                                        Georgia Bar No.: 300247

Law Office of Aaron N Freedman                        .


3740 Davinci Court, Suite 150
Peachtrce Comers, GA 30092
                                                                                                            5   -
Telephone 678—699—6566
                                                                                                        —
              Case 1:21-cv-03848-AT Document 1-1 Filed 09/17/21 Page 40 of 67



                                IN THE STATE COURT OF FULTON COUNTY
                                          STATE OF GEORGIA

ANDREA GORDON,                                            )
                                                          ).
                      Plaintiff,                          )
v.                                                        )          CIVIL ACTION NO.:
                                                          )
STANLEY FAUGHN and                                        )
RELIBLE CARRIERS INC,                                     ),
                                                          )
                      Defendants.                         )


                                            CERTIFICATE OF SERVICE
          V
              This is to certify that I have this day served a copy of the within and foregoing Plaintiff’s

Request for the Production of Documents to Defendant and Plaintiff’s First Continuing
Interrogatories to the Defendant by US. Mail with adequate postage afﬁxed thereon to:



                                                    Stanley Faughn
                                                  332 Pleasant Street
                                                  Mendon, MI 49072

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                                                lVUl'laUlU ’Uall‘l'lUlD, 111V.
                                               41555 Koppernick Road
                                                  Canton, MI 48187




               This 4‘h day of August, 2021.



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                                                                                           1V.1‘1\LDJJleiV
                                                                                   Attorney for Plaintiff
                                                                                   Georgia Bar No.: 300247
 The Law Ofﬁce of Aaron N. Freedman
 3740 Davinci Court, Suite 150
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 (678)699 6566
                                                                                      State Court of Fulton County
              Case 1:21-cv-03848-AT Document 1-1 Filed 09/17/21 Page 41 of 67                           **E-FILED**
                                                                                                       21EV004688
                                                                                                  8/9/2021 9:31 AM
                                                                                       Christopher G. Scott, Clerk
                                                                                                      Civil Division

                       IN   THE STATE COURT OF FULTON COUNTY

                                         STATE OF GEORGIA
ANDREA GORDON,

         Plaintiff,

vs.                                                       C/A File No.
                                                    '

STANLEY FAUGHN and
RELIABLE CARRIERS INC.,
         Defendant.

                        5.2   CERTIFICATE OF SERVICE OF DISCOVERY
         This is to certify that I have this day served a copy of the within and foregoing,
Plaintiff’s Complaint, Plaintiff’s Request for the Production of Documents to Defendant,
Plaintiff’s First Continuing Interrogatories to the Defendant, and Summons by Sheriff’s
Marshall of Service and       US. Mail   with adequate postage afﬁxed thereon to:


                                              Stanley Faughn
                                            332 Pleasant Street
                                            Mendon, MI 49072

                                           Reliable Carriers Inc.
                                          41555 Koppernick Road
                                             Canton, MI 48187

This         day of August, 2021.

                                                                    KZ ﬂ XV
       41h




                                                                  AA‘KGN N. FREEDMAN
                                                                  Attorney for Plaintiff
                                                                  Georgia Bar No.: 300247



The Law Ofﬁce of Aaron N. Freedman
3740 Davinci Court, Suite 150
Peachtree Corners, GA 30092
(678)-699-6566
                                                                                                                     State Court of Fulton County
                           Case 1:21-cv-03848-AT Document 1-1 Filed 09/17/21 Page 42 of 67                                             **E-FILED**
                                                                                                                                      21EV004688
                                                            AFFIDAVIT OF SERVICE                                              8/24/2021 12:12 PM
                                                                                                                       Christopher G. Scott, Clerk
                                              Court:                      County:                                    job:            Civil Division
     Case:
                                                                          FULTO N, GA                                 5987806
     21 EV004688                              STATE

     Plaintiff I Petitioner:                                              Defendant / Respondent:
     ANDREA GORDON                                                        RELIABLE CARRIERS INC.

     Received by:                                                         For:
     Erica Williams                                                       AARON FREEDMAN

     To be served upon:
     RELIABLE CARRIERS INC.

                                                                                 and not a party to this action, and that within the
                      duly sworn, depose and say: I am over the age‘of ’18 years
     En'ca Williams, being
                                                                               make service of the documents and infomed said person of
I,
boundaries of the state where service was effected, I was authorized by law to
the contents herein
                                                                                                                        MI 48187-2415
Recipient Name / Address:       RELIABLE CARRIERS INC., RELIABLE CARRIERS INC.: 41555 KOPPERNICK RD, CANTON,
Manner of Service:              Personal/Individual, Aug 18, 2021, 12:53 pm EDT
                                                                                                           FIRST CONTINUING
Documents:                      SUMMONS; COMPLAINT FOR DAMAGES; PLAINTIFF ANDREA GORDON‘S
                                                   TO  DEFENDANT    RELIABLE  CARRIERS   INC.; PLAINTIFF  ANDREA    GORDON'S FIRST REQUEST
                                INTERROGATORIES
                                                                                                 CARRIERS          5.2 CERTIFICATE OF SERVICE
                                FOR PRODUCTION OF DOCUMENTS TO DEFENDEANT RELIABLE                           INC.;
                                OF DISCOVERY (Received Aug 9, 2021 at 2:44pm EDT),    Reliable  Carriers 8-9-2021  COMPLAINT.pdf    (Received Aug
                                9, 2021 at 2:44pm EDT), RELIABLE  CARRIERS-8—9-2021  PRODUCTION       OF  DOCUMENTS.pdf     (Received  Aug 9, 2021
                                at 2:44pm EDT), RELIABLE  CARRIERS   8-9-2021 5.2 CERTIFICATE   OF SERVICE   OF DISCOVERY.pdf    (Received  Aug 9,
                                                                                                                                       9, 2021 at
                                2021 at 2:44pm EDT), RELIABLE CARRIERS 8-9-2021 PLAINTIFF INTERROGATORIES.pdf (Received Aug
                                2:44pm EDT)

Additional Comments:
1) Unsuccessful Attempt: Aug 14, 2021, 9:11 am EDT
                                                   at RELIABLE CARRIERS INC.: 41555 KOPPERNICK RD, CANTON, Ml 48187-2415
they are closed

 2) Successful Attempt: Aug 18, 2021, 12:53 pm EDT at RELIABLE
                                                               CARRIERS |NC.: 41555 KOPPERNICK RD, CANTON, MI 48187-2415 received by
 RELIABLE CARRIERS INC..
 General manager Andrew Keilah, accepted service

                                                                             Subscribed and orn to before me by the amant who is
                                                                             pers    I know   me.



     En'ca Williams
                                               08/21/2021
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       Case 1:21-cv-03848-AT Document 1-1 Filed 09/17/21 Page 43 of 67                    **E-FILED**
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                                                                         Christopher G. Scott, Clerk
                                                                                        Civil Division




                 IN THE STATE COURT OF FULTON COUNTY
                           STATE OF GEORGIA

 ANDREA GORDON,              )
                             )
     Plaintiff,              )                        CIVIL ACTION FILE
                             )                        NO. 21EV004688
 v.                          )
                             )
 STANLEY FAUGHN and RELIABLE )
 CARRIERS INC.,              )
                             )
     Defendants.             )

     DEFENDANT STANLEY FAUGHN'S ANSWER TO PLAINTIFF'S
                 COMPLAINT FOR DAMAGES

      COMES NOW defendant Stanley Faughn, by way of special appearance,

without waiving and specifically reserving all jurisdictional and other available

defenses, and answers plaintiff's complaint for damages as follows:

                                  FIRST DEFENSE

      Plaintiff's complaint fails to state a claim upon which relief can be granted.

                                SECOND DEFENSE

      Responding to the specifically numbered paragraphs of plaintiff's complaint,

Mr. Faughn answers as follows:

                                          1.

      Mr. Faughn is without sufficient information or knowledge to form a belief as

to the truth of the allegations in this paragraph of the complaint.
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                                          2.

      Responding to the allegations in this paragraph of the complaint, Mr. Faughn

admits he resides at the stated address and may be served according to law. Except

as expressly admitted, Mr. Faughn denies the allegations in this paragraph of the

complaint.

                                          3.

      Mr. Faughn is without sufficient information or knowledge to form a belief as

to the truth of the allegations in this paragraph of the complaint.

                                          4.

      Mr. Faughn is without sufficient information or knowledge to form a belief as

to the truth of the allegations in this paragraph of the complaint.

                                          5.

      Responding to the allegations in this paragraph of the complaint, Mr. Faughn

admits he was driving a 2016 Kenworth tractor and pulling a trailer ("subject tractor-

trailer") on the date in question and attempted to make a right turn at the subject

intersection. Except as expressly admitted, Mr. Faughn denies the allegations in this

paragraph of the complaint.




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                                          6.

      The allegations in this paragraph of the complaint relating to a citation are

irrelevant, immaterial, and impertinent and, therefore, should be stricken pursuant to

O.C.G.A. § 9-11-12(f). To the extent a response is required, Mr. Faughn admits he

was cited. Except as expressly admitted, Mr. Faughn denies the allegations in this

paragraph of the complaint.

                                          7.

      Mr. Faughn denies the allegations in this paragraph of the complaint,

including those set forth in sub-paragraphs (A) through (D).

                                          8.

      Mr. Faughn is without sufficient information or knowledge to form a belief as

to the truth of the allegations in this paragraph of the complaint.

                                          9.

      Mr. Faughn denies the allegations in this paragraph of the complaint.

                                          10.

      Mr. Faughn denies the allegations in this paragraph of the complaint.

                                          11.

      Mr. Faughn denies the allegations in this paragraph of the complaint.



                                          -3-
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                                        12.

      Responding to the allegations in this paragraph of the complaint, Mr. Faughn

admits he was acting in the course and scope of his employment with Reliable

Carriers, Inc. ("Reliable Carriers") at the time of the subject accident and the

respondeat superior doctrine applies to plaintiff's allegations of negligence against

Mr. Faughn. Except as expressly admitted, Mr. Faughn denies the allegations in this

paragraph of the complaint.

                                        13.

      Responding to the allegations in this paragraph of the complaint, Mr. Faughn

admits he was acting in the course and scope of his employment at the time of the

subject accident. Except as expressly admitted, Mr. Faughn is without sufficient

information or knowledge to form a belief as to the truth of the allegations in this

paragraph of the complaint.

                                        14.

      Responding to the allegations in this paragraph of the complaint, Mr. Faughn

admits the respondeat superior doctrine applies to any acts of negligence he

committed while acting in the course and scope of his employment with Reliable



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Carriers. Except as expressly admitted, Mr. Faughn denies the allegations in this

paragraph of the complaint.

                                         15.

      Mr. Faughn denies the allegations in this paragraph of the complaint.

                                         16.

      Mr. Faughn denies the allegations in this paragraph of the complaint.

                                         17.

      Responding to the allegations in the unnumbered paragraph following

paragraph 16 of the complaint, which begins "WHEREFORE" and constitutes

plaintiff's prayer for relief, including those set forth in subparagraphs (1) through

(3), Mr. Faughn denies plaintiff is entitled to any relief from defendants under any

theory, at law or in equity.

                                         18.

      Except as expressly admitted or otherwise responded to, Mr. Faughn denies

all allegations in the complaint.

                                    THIRD DEFENSE

      There has been an insufficiency of process as to Mr. Faughn; therefore, this

Court lacks personal jurisdiction over him.



                                         -5-
       Case 1:21-cv-03848-AT Document 1-1 Filed 09/17/21 Page 48 of 67




                                FOURTH DEFENSE

      There has been an insufficiency of service of process as to Mr. Faughn;

therefore, this Court lacks personal jurisdiction over him.

                                  FIFTH DEFENSE

      Defendants did not breach any duty owed to plaintiff.

                                  SIXTH DEFENSE

      No act or omission of defendants proximately caused or contributed to any

injuries or damages allegedly incurred by plaintiff; therefore, plaintiff has no right

of recovery against defendants.

                               SEVENTH DEFENSE

      Any injuries or damages sustained by plaintiff were the sole, direct, and

proximate result of the conduct of others, including but not limited to plaintiff, and

no alleged act by defendants caused or contributed to the incident described in the

complaint.

                                  EIGHTH DEFENSE

      To the extent as may be shown applicable by the evidence through discovery,

Mr. Faughn asserts the affirmative defenses of accord and satisfaction, arbitration

and award, assumption of the risk, contributory/comparative negligence, duress,

failure of consideration, fraud, illegality, injury by fellow servant, laches, license,

                                         -6-
        Case 1:21-cv-03848-AT Document 1-1 Filed 09/17/21 Page 49 of 67




payment, release, res judicata, statute of frauds, statute of limitations, failure of

plaintiffs to avoid consequences, failure of plaintiff to mitigate damages, discharge

in bankruptcy, estoppel, last clear chance, and waiver.

                                 NINTH DEFENSE

      Mr. Faughn reserves the right to plead additional defenses as become known

to him through investigation and discovery.

      WHEREFORE, having fully listed his defenses and having fully answered the

complaint, Mr. Faughn prays as follows:

      (a)     That judgment be entered in favor of defendants and against plaintiff

on the complaint;

      (b)     That the costs of this action, including attorney's fees be cast against

plaintiff; and

      (c)     That the Court grant such other and further relief as it may deem just

and proper.

                                               STONE KALFUS LLP

                                               /s/ Dustin S. Sharpes
                                               Matthew P. Stone
                                               Georgia Bar No. 684513
                                               Shawn N. Kalfus
                                               Georgia Bar No. 406227
                                               Dustin S. Sharpes
                                               Georgia Bar No. 522995

                                         -7-
       Case 1:21-cv-03848-AT Document 1-1 Filed 09/17/21 Page 50 of 67




                                           Attorneys for Defendants and
                                           Counterclaim Plaintiff

One Midtown Plaza
1360 Peachtree Street NE
Suite 1250
Atlanta, GA 30309
(404) 736-2600 (telephone)
(877) 736-2601 (facsimile)

       MR. FAUGHN DEMANDS A TRIAL BY JURY OF TWELVE




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        Case 1:21-cv-03848-AT Document 1-1 Filed 09/17/21 Page 51 of 67




                         CERTIFICATE OF SERVICE

      I hereby certify that, on September 17, 2021, I filed the foregoing Defendant

Stanley Faughn's Answer to Plaintiff's Complaint for Damages with the Clerk of

Court using the Odyssey e-filing system, which will automatically send e-mail

notification of such filing to counsel of record who are Odyssey participants and

mailed by United States Postal Service, first-class, postage prepaid, a paper copy of

the same document to counsel of record who are non-Odyssey participants. Counsel

of record is:

                          Aaron N. Freedman, Esq.
                          Law Offices of Aaron N. Freedman
                          3740 Davinci Court, Suite 150
                          Peachtree Corners, GA 30092


                                               /s/ Dustin S. Sharpes
                                               Dustin S. Sharpes
                                               Georgia Bar No. 522995

STONE KALFUS LLP
One Midtown Plaza
1360 Peachtree Street NE
Suite 1250
Atlanta, GA 30309
(404) 736-2600 (telephone)
(877) 736-2601 (facsimile)




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                                                                         State Court of Fulton County
       Case 1:21-cv-03848-AT Document 1-1 Filed 09/17/21 Page 52 of 67                     **E-FILED**
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                                                                          Christopher G. Scott, Clerk
                                                                                         Civil Division




                 IN THE STATE COURT OF FULTON COUNTY
                           STATE OF GEORGIA

 ANDREA GORDON,              )
                             )
     Plaintiff,              )                         CIVIL ACTION FILE
                             )                         NO. 21EV004688
 v.                          )
                             )
 STANLEY FAUGHN and RELIABLE )
 CARRIERS INC.,              )
                             )
     Defendants.             )

       DEFENDANT RELIABLE CARRIERS, INC.'S ANSWER AND
                      COUNTERCLAIM

      COMES NOW defendant Reliable Carriers, Inc. ("Reliable Carriers") and

answers plaintiff's complaint for damages as follows:

                                  FIRST DEFENSE

      Plaintiff's complaint fails to state a claim upon which relief can be granted.

                                SECOND DEFENSE

      Responding to the specifically numbered paragraphs of plaintiff's complaint,

Reliable Carriers answers as follows:

                                           1.

      Reliable Carriers is without sufficient information or knowledge to form a

belief as to the truth of the allegations in this paragraph of the complaint.
       Case 1:21-cv-03848-AT Document 1-1 Filed 09/17/21 Page 53 of 67




                                           2.

      Reliable Carriers is without sufficient information or knowledge to form a

belief as to the truth of the allegations in this paragraph of the complaint.

                                           3.

      Responding to the allegations in this paragraph of the complaint, Reliable

Carriers admits it is a Michigan corporation with its principal office address at 41555

Koppernick Road, Canton, Michigan, 48187; it may be served according to law; and

it is subject to this Court's jurisdiction. Except as expressly admitted, Reliable

Carriers denies the allegations in this paragraph of the complaint.

                                           4.

      Reliable Carriers is without sufficient information or knowledge to form a

belief as to the truth of the allegations in this paragraph of the complaint.

                                           5.

      Responding to the allegations in this paragraph of the complaint, Reliable

Carriers admits Mr. Faughn was driving a 2016 Kenworth tractor and pulling a trailer

("subject tractor-trailer") on the date in question and attempted to make a right turn

at the subject intersection. Except as expressly admitted, Reliable Carriers denies

the allegations in this paragraph of the complaint.



                                          -2-
       Case 1:21-cv-03848-AT Document 1-1 Filed 09/17/21 Page 54 of 67




                                           6.

      The allegations in this paragraph of the complaint relating to a citation are

irrelevant, immaterial, and impertinent and, therefore, should be stricken pursuant to

O.C.G.A. § 9-11-12(f). To the extent a response is required, Reliable Carriers admits

Mr. Faughn was cited. Except as expressly admitted, Reliable Carriers denies the

allegations in this paragraph of the complaint.

                                           7.

      Reliable Carriers denies the allegations in this paragraph of the complaint,

including those set forth in sub-paragraphs (A) through (D).

                                           8.

      Reliable Carriers is without sufficient information or knowledge to form a

belief as to the truth of the allegations in this paragraph of the complaint.

                                           9.

      Reliable Carriers denies the allegations in this paragraph of the complaint.

                                          10.

      Reliable Carriers denies the allegations in this paragraph of the complaint.

                                          11.

      Reliable Carriers denies the allegations in this paragraph of the complaint.



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                                         12.

      Responding to the allegations in this paragraph of the complaint, Reliable

Carriers admits it employed Mr. Faughn, he was acting in the course and scope of

his employment at the time of the subject accident, and the respondeat superior

doctrine applies to plaintiff's allegations of negligence against Mr. Faughn. Except

as expressly admitted, Reliable Carriers denies the allegations in this paragraph of

the complaint.

                                         13.

      Responding to the allegations in this paragraph of the complaint, Reliable

Carriers admits Mr. Faughn was acting in the course and scope of his employment

at the time of the subject accident. Except as expressly admitted, Reliable Carriers

is without sufficient information or knowledge to form a belief as to the truth of the

allegations in this paragraph of the complaint.

                                         14.

      Responding to the allegations in this paragraph of the complaint, Reliable

Carriers admits the respondeat superior doctrine applies to any acts of negligence

committed by Mr. Faughn while acting in the course and scope of his employment

with Reliable Carriers. Except as expressly admitted, Reliable Carriers denies the

allegations in this paragraph of the complaint.

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       Case 1:21-cv-03848-AT Document 1-1 Filed 09/17/21 Page 56 of 67




                                           15.

      Reliable Carriers denies the allegations in this paragraph of the complaint.

                                           16.

      Reliable Carriers denies the allegations in this paragraph of the complaint.

                                           17.

      Responding to the allegations in the unnumbered paragraph following

paragraph 16 of the complaint, which begins "WHEREFORE" and constitutes

plaintiff's prayer for relief, including those set forth in subparagraphs (1) through

(3), Reliable Carriers denies plaintiff is entitled to any relief from defendants under

any theory, at law or in equity.

                                           18.

      Except as expressly admitted or otherwise responded to, Reliable Carriers

denies all allegations in the complaint.

                                   THIRD DEFENSE

      Neither Reliable Carriers nor any of its agents or employees breached any

duty owed to plaintiff.




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                                 FOURTH DEFENSE

      No act or omission of Reliable Carriers, its agents, or employees proximately

caused or contributed to any injuries or damages allegedly incurred by plaintiff;

therefore, plaintiff has no right of recovery against defendants.

                                   FIFTH DEFENSE

      Any injuries or damages sustained by plaintiff were the sole, direct, and

proximate result of the conduct of others, including but not limited to plaintiff, and

no alleged act by Reliable Carriers or its employees or agents caused or contributed

to the incident described in the complaint.

                                   SIXTH DEFENSE

      To the extent as may be shown applicable by the evidence through discovery,

Reliable Carriers asserts the affirmative defenses of accord and satisfaction,

arbitration and award, assumption of the risk, contributory/comparative negligence,

duress, failure of consideration, fraud, illegality, injury by fellow servant, laches,

license, payment, release, res judicata, statute of frauds, statute of limitations, failure

of plaintiffs to avoid consequences, failure of plaintiff to mitigate damages,

discharge in bankruptcy, estoppel, last clear chance, and waiver.




                                           -6-
        Case 1:21-cv-03848-AT Document 1-1 Filed 09/17/21 Page 58 of 67




                                SEVENTH DEFENSE

      Reliable Carriers reserves the right to plead additional defenses as become

known to it through investigation and discovery.

      WHEREFORE, having fully listed its defenses and having fully answered the

complaint, Reliable Carriers prays as follows:

      (a)     That judgment be entered in favor of defendants and against plaintiff

on the complaint;

      (b)     That the costs of this action, including attorney's fees be cast against

plaintiff; and

      (c)     That the Court grant such other and further relief as it may deem just

and proper.

      RELIABLE CARRIERS' COUNTERCLAIM AGAINST PLAINTIFF

      COMES NOW Reliable Carriers and files its counterclaim against plaintiff,

showing the Court as follows:

                                          1.

      This counterclaim arises out of the same transaction or occurrence alleged in

plaintiff's complaint.

                                          2.

      This Court has jurisdiction over this counterclaim and over plaintiff, who, by

                                         -7-
        Case 1:21-cv-03848-AT Document 1-1 Filed 09/17/21 Page 59 of 67




filing this action, has submitted herself to the jurisdiction and venue of this Court for

purposes of this counterclaim.

                                           3.

      On October 8, 2019, Mr. Faughn, while in the course and scope of his

employment with Reliable Carriers, was driving the subject tractor-trailer west on

S.R. 140/Holcomb Bridge Road in the right-most lane.

                                           4.

      At the same time, plaintiff was driving west on S.R. 140/Holcomb Bridge

Road behind Mr. Faughn.

                                           5.

      As Mr. Faughn was making a right turn onto Holcomb Woods Parkway,

plaintiff negligently and in violation of Georgia law attempted to pass Mr. Faughn

in the same lane the subject tractor-trailer occupied, causing a collision between the

two vehicles.

                                           6.

      Plaintiff's actions constitute negligence and negligence per se in violation of

Georgia law.

                                           7.

      The collision was solely and proximately caused by plaintiff's negligence.

                                          -8-
        Case 1:21-cv-03848-AT Document 1-1 Filed 09/17/21 Page 60 of 67




                                           8.

      At all relevant times, Mr. Faughn was driving in a lawful and prudent manner.

                                           9.

      As a result of plaintiff's negligence, Reliable Carriers' trailer sustained

damage.

                                          10.

      As a result of plaintiff's negligence, Reliable Carriers seeks recovery for its

property damage, downtime losses, and other related damages in an amount to be

determined at trial.

                                          11.

      Plaintiff has acted in bad faith, has been stubbornly litigious, and has caused

Reliable Carriers unnecessary trouble and expense; therefore, pursuant to O.C.G.A.

§ 13-6-11, Reliable Carriers is entitled to an award against plaintiff for the attorney's

fees and expenses of litigation incurred in connection with its defense of this action

and prosecution of this counterclaim.

      WHEREFORE, having stated its counterclaim, Reliable Carriers prays and

demands as follows:




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        Case 1:21-cv-03848-AT Document 1-1 Filed 09/17/21 Page 61 of 67




      (a)    That judgment be entered in favor of Reliable Carriers and against

plaintiff for Reliable Carriers' property damages, downtime losses, and other related

damages in an amount to be proven at trial;

      (b)    That judgment be entered in favor of Reliable Carriers and against

plaintiff for Reliable Carriers' attorney's fees and expenses of litigation in an amount

to be proven at trial;

      (c)    That the costs of this action be cast against plaintiff; and

      (d)    For such other and further relief as the Court deems just and proper.

                                                STONE KALFUS LLP

                                                /s/ Dustin S. Sharpes
                                                Matthew P. Stone
                                                Georgia Bar No. 684513
                                                Shawn N. Kalfus
                                                Georgia Bar No. 406227
                                                Dustin S. Sharpes
                                                Georgia Bar No. 522995
                                                Attorneys for Defendants and
                                                Counterclaim Plaintiff

One Midtown Plaza
1360 Peachtree Street NE
Suite 1250
Atlanta, GA 30309
(404) 736-2600 (telephone)
(877) 736-2601 (facsimile)

   RELIABLE CARRIERS DEMANDS A TRIAL BY JURY OF TWELVE


                                         -10-
       Case 1:21-cv-03848-AT Document 1-1 Filed 09/17/21 Page 62 of 67




                         CERTIFICATE OF SERVICE

      I hereby certify that, on September 17, 2021, I filed the foregoing Defendant

Reliable Carriers, Inc.'s Answer and Counterclaim with the Clerk of Court using the

Odyssey e-filing system, which will automatically send e-mail notification of such

filing to counsel of record who are Odyssey participants and mailed by United States

Postal Service, first-class, postage prepaid, a paper copy of the same document to

counsel of record who are non-Odyssey participants. Counsel of record is:

                         Aaron N. Freedman, Esq.
                         Law Offices of Aaron N. Freedman
                         3740 Davinci Court, Suite 150
                         Peachtree Corners, GA 30092


                                              /s/ Dustin S. Sharpes
                                              Dustin S. Sharpes
                                              Georgia Bar No. 522995

STONE KALFUS LLP
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1360 Peachtree Street NE
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                                                                    State Court of Fulton County
        Case 1:21-cv-03848-AT Document 1-1 Filed 09/17/21 Page 63 of 67               **E-FILED**
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                                                                     Christopher G. Scott, Clerk
                                                                                    Civil Division




                IN THE STATE COURT OF FULTON COUNTY
                          STATE OF GEORGIA

 ANDREA GORDON,              )
                             )
     Plaintiff,              )                     CIVIL ACTION FILE
                             )                     NO. 21EV004688
 v.                          )
                             )
 STANLEY FAUGHN and RELIABLE )
 CARRIERS INC.,              )
                             )
     Defendants.             )
      DEFENDANTS' DEMAND FOR TRIAL BY JURY OF TWELVE

       COME NOW defendants and, pursuant to O.C.G.A. §§ 15-12-122 and 15-12-

123, demand this action be tried by a jury of twelve. Defendants further show this

demand is made before the commencement of the trial term in which this case is to

be tried.

                          [Signature on following page]
       Case 1:21-cv-03848-AT Document 1-1 Filed 09/17/21 Page 64 of 67

DEFENDANTS' DEMAND FOR TRIAL BY JURY OF TWELVE
Andrea Gordon v. Reliable Carriers Inc. et ano., Civil Action File No. 21EV004688


                                           STONE KALFUS LLP

                                           /s/ Dustin S. Sharpes
                                           Matthew P. Stone
                                           Georgia Bar No. 684513
                                           Shawn N. Kalfus
                                           Georgia Bar No. 406227
                                           Dustin S. Sharpes
                                           Georgia Bar No. 522995
                                           Attorneys for Defendants

One Midtown Plaza
1360 Peachtree Street NE
Suite 1250
Atlanta, GA 30309
(404) 736-2600 (telephone)
(877) 736-2601 (facsimile)
        Case 1:21-cv-03848-AT Document 1-1 Filed 09/17/21 Page 65 of 67




                         CERTIFICATE OF SERVICE

      I hereby certify that on September 17, 2021, I filed the foregoing

DEFENDANTS' DEMAND FOR TRIAL BY JURY OF TWELVE with the Clerk of

Court using the Odyssey e-filing system, which will automatically send e-mail

notification of such filing to counsel of record who are Odyssey participants and

mailed by United States Postal Service, first-class, postage prepaid, a paper copy of

the same document to counsel of record who are non-Odyssey participants. Counsel

of record is:

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                          Law Offices of Aaron N. Freedman
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                          Peachtree Corners, GA 30092


                                             /s/ Dustin S. Sharpes
                                             Dustin S. Sharpes
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                                                                      State Court of Fulton County
       Case 1:21-cv-03848-AT Document 1-1 Filed 09/17/21 Page 66 of 67                  **E-FILED**
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                                                                               9/17/2021 12:37 PM
                                                                       Christopher G. Scott, Clerk
                                                                                      Civil Division




                IN THE STATE COURT OF FULTON COUNTY
                          STATE OF GEORGIA

ANDREA GORDON,              )
                            )
    Plaintiff,              )                       CIVIL ACTION FILE
                            )                       NO. 21EV004688
v.                          )
                            )
STANLEY FAUGHN and RELIABLE )
CARRIERS INC.,              )
                            )
    Defendants.             )

         RULE 5.2 CERTIFICATE OF SERVICE OF DISCOVERY

      Pursuant to Rule 5.2 of the Uniform State Court Rules, I hereby certify that I

have this day served a copy of Defendants' First Request for Admissions to Plaintiff

upon counsel of record by United States first-class mail, addressed as follows:

                          Aaron N. Freedman, Esq.
                          Law Offices of Aaron N. Freedman
                          3740 Davinci Court, Suite 150
                          Peachtree Corners, GA 30092


      This 17th day of September, 2021.

                                             STONE KALFUS LLP

                                             /s/ Dustin S. Sharpes
                                             Matthew P. Stone
                                             Georgia Bar No. 684513
                                             Shawn N. Kalfus
                                             Georgia Bar No. 406227
                                             Dustin S. Sharpes
       Case 1:21-cv-03848-AT Document 1-1 Filed 09/17/21 Page 67 of 67




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